USDC IN/ND case 2:04-cr-00080-JTM-JPK   document 791   filed 01/12/10   page 1 of 11


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


  ARTHIA LAMONT TANNER                    )
                                          )
       v.                                 )     NO. 2:09-CV-85
                                          )         (2:04-CR-80)
  UNITED STATES OF AMERICA.               )


                             OPINION AND ORDER

       This matter is before the Court on the Motion to Vacate, Set

  Aside, or Correct Sentence by a Person in Federal Custody (DE # 747)

  filed by Petitioner, Arthia Lamont Tanner, on March 27, 2009. To the

  extent this motion requests relief pursuant to 18 U.S.C. § 3582(c)(2),

  this portion of the motion is STRICKEN and Tanner is appointed counsel

  to assist in resolving this issue as set forth below. To the extent

  this motion requests relief pursuant to 28 U.S.C. § 2255, for the

  reasons set forth below, this motion is DENIED. Further, the Clerk is

  ORDERED to distribute a copy of this Order to Arthia Lamont Tanner

  (Prisoner No. 08097-027), Forrest City Low FCI, P.O. BOX 9000, Forrest

  City, Arkansas, 72336, or to such other more current address that may

  be on file for the Petitioner.



  Relief Pursuant to 18 U.S.C. Section 3582(c)(2)

       This cause related to relief under 18 U.S.C. Section 3582(c)(2)

  only is assigned to the Northern District of Indiana Federal Community

  Defenders, Inc., 31 E. Sibley Street, Hammond, Indiana 46320 (219/937-
USDC IN/ND case 2:04-cr-00080-JTM-JPK   document 791   filed 01/12/10     page 2 of 11


  8020), for referral of counsel to represent the Defendant with respect

  to Defendant’s pursuit of a reduction of sentencing pursuant to 18

  U.S.C. § 3582(c)(2). The Federal Community Defenders, Inc. is directed

  to determine whether it can represent the Defendant. If not, an

  attorney from the Criminal Justice Act (CJA) panel should be assigned

  to represent the Defendant. If the Federal Community Defenders, Inc.

  accepts the case, this order constitutes appointment upon filing an

  appearance with the Court.

       Once counsel is assigned, the U.S. Probation Office is directed

  to provide the Government and defense counsel with a copy of the

  Judgment & Commitment Order, Statement of Reasons for the sentence

  entered, and the Presentence Report (PSR) immediately.                Any previous

  motions filed pro se by the Defendant seeking a reduction pursuant to

  Title 18 U.S.C. § 3582(c)(2) are hereby stricken.           After receiving a

  copy of the Judgment & Commitment Order, Statement of Reasons, and the

  Presentence Report from the U.S. Probation Office, counsel for the

  Defendant is given 10 days within which to file a formal Motion for

  Reduction   of   Sentence   pursuant    to   18   U.S.C.   §   3582(c)(2),        if

  appropriate. In the event that counsel for the Defendant does not

  believe a reduction is warranted, then a brief Notice to the Court

  should be filed explaining why such a reduction is inappropriate.

       The U.S. Probation Office is also directed to promptly prepare

  a short, factual report setting forth the original guideline range and

  the new guideline range calculated under the amended guideline.


                                        -2-
USDC IN/ND case 2:04-cr-00080-JTM-JPK   document 791   filed 01/12/10   page 3 of 11


  Included within the report will be any information obtained by the

  U.S. Probation Office regarding public safety considerations and post-

  sentencing conduct while incarcerated.

       If a motion for reduction of sentence is filed by Defendant’s

  counsel, the government shall file a response within 10 days after the

  motion is filed or when the parties have been provided a copy of the

  short, factual report referenced above, whichever occurs later.



  Relief Pursuant to 28 U.S.C. § 2255

  BACKGROUND

       On April 12, 2006, pursuant to a Plea Agreement (DE # 302),

  Tanner pled guilty to Count 8 of the Superseding Indictment in cause

  number 2:04cr80, charging him with distributing cocaine, in violation

  of 21 U.S.C. § 841(a)(1). Tanner attempted to withdraw this plea (DE

  # 366) on September 1, 2006, because of the amount of cocaine

  attributed to him in the presentence investigation report. This Court

  denied Defendant’s motion on September 12, 2006. (DE # 371).

       On April 4, 2007, Tanner was sentenced to a term of 240 months

  imprisonment and 3 years of supervised release. Also on this date, the

  remaining counts contained in the Superceding Indictment (Counts 2,

  9, 10, 11, and 16) against Tanner were dismissed pursuant to the plea

  agreement.

       On April 6, 2007, Tanner appealed. Upon his motion, the Seventh

  Circuit granted him new appellate counsel who subsequently filed a


                                        -3-
USDC IN/ND case 2:04-cr-00080-JTM-JPK     document 791       filed 01/12/10       page 4 of 11


  brief pursuant to Anders v. California, 386 U.S. 738 (1967), because

  they could not discern any non-frivolous issue for appeal. On October

  7, 2008, Tanner’s appeal was dismissed as frivolous (DE #716). See

  U.S. v. Tanner, 544 F.3d 793, 794 (7th Cir. 2008).

        In the instant motion, Tanner requests relief pursuant to 28

  U.S.C. § 2255 based on ineffective assistance of counsel during

  sentencing (Memorandum of Law in Support of Motion to Vacate, Set

  Aside, or Correct Said Sentence Pursuant to Title 28 U.S.C. Section

  2255 (DE #748)(hereinafter, “Brief”) at pp. 8-21), plea negotiations

  (id. at pp. 29-30), and his appeal (id. at pp. 27-29). The government

  contends that because the plea agreement contained a waiver provision,

  Tanner’s motion should be dismissed.



  DISCUSSION

        Relief under 28 U.S.C. § 2255 is limited to situations where a

  federal criminal defendant’s conviction or sentence is based on “an

  error of law that is jurisdictional, constitutional, or constitutes

  a   fundamental   defect,      which    inherently     results       in     a     complete

  miscarriage of justice.” Bischel v. U.S., 32 F.3d 259, 263 (7th Cir.

  1994)(quotations omitted).        If the court finds that any such error

  occurred, it will “vacate, set aside or correct the sentence.” 28

  U.S.C. § 2255. A court may deny a § 2255 motion without an evidentiary

  hearing   if   “the   motion   and     the   files   and    records       of     the   case

  conclusively show that the prisoner is entitled to no relief.” 28


                                          -4-
USDC IN/ND case 2:04-cr-00080-JTM-JPK     document 791   filed 01/12/10   page 5 of 11


  U.S.C. § 2255(b). Here, because the motion, files, and records in this

  case conclusively demonstrate that Tanner is not entitled to relief,

  the Court declines to hold an evidentiary hearing.



       Waiver

       Tanner’s plea agreement contained a waiver of right to contest

  his sentence through appeal and post-conviction relief. Specifically,

  his plea agreement contained the following waiver provision:

             I understand that the law gives a convicted
             person the right to appeal the conviction and the
             sentence imposed; I also understand that no one
             can predict the precise sentence that will be
             imposed, and that the Court has jurisdiction and
             authority to impose any sentence within the
             statutory maximum set for my offense as set forth
             in this plea agreement; with this understanding
             and in consideration of the government’s entry
             into this plea agreement, I expressly waive my
             right to appeal or to contest my conviction and
             my sentence or the manner in which my conviction
             or my sentence was determined or imposed, to any
             Court on any ground, including any claim of
             ineffective assistance of counsel unless the
             claimed ineffective assistance of counsel relates
             directly to this waiver or its negotiation,
             including any appeal under Title 18, United
             States Code, Section 3742 or any post-conviction
             proceeding, including but not limited to, a
             proceeding under Title 28, United States Code,
             Section 2255.


  (Plea Agreement ¶ 7(f).)

       At the change of plea hearing, Tanner acknowledged that he was

  waiving   his   right   to   file     any   later   petition   challenging      his

  conviction or sentence. (Change of Plea Hearing Transcript at 24-27.)


                                          -5-
USDC IN/ND case 2:04-cr-00080-JTM-JPK   document 791    filed 01/12/10    page 6 of 11


  The Court further explained to Tanner that his sentence might be worse

  than he expects, but he is still bound by his guilty plea. (Id. at

  33.) Tanner acknowledged that he understood this waiver. (Id. at 24-

  27.) Nevertheless, despite the waivers and admissions in his plea

  agreement, Tanner requests relief pursuant to 28 U.S.C. § 2255.

         Courts enforce a plea agreement's appellate and collateral attack

  waiver “if its terms are clear and unambiguous and the record shows

  that   the   defendant   knowingly    and   voluntarily     entered      into   the

  agreement.” U.S. v. Blinn, 490 F.3d 586, 588 (7th Cir. 2007). Courts

  may consider a defendant's signature on the plea agreement and his

  statements during the plea colloquy as evidence of a knowing and

  voluntary waiver. United States v. Jemison, 237 F.3d 911, 917-18 (7th

  Cir. 2001).

         A waiver is not enforceable against a § 2255 challenge if the

  defendant can demonstrate ineffective assistance of counsel with

  respect to the negotiation of the plea agreement. Mason v. United

  States, 211 F.3d 1065, 1069 (7th Cir. 2000). An enforceable waiver,

  however, bars ineffective assistance claims relating to anything other

  than the plea negotiation. Id. at 1069-70.

         Here, although the majority of Tanner’s claims are within the

  scope of the waiver, Tanner claims two instances of ineffective

  assistance of counsel during the plea negotiation. First, Tanner

  alleges   that   his   lawyer   was   ineffective    because    he     incorrectly

  predicted a sentence in the range of 5 to 10 years. (Brief at p. 29.)


                                        -6-
USDC IN/ND case 2:04-cr-00080-JTM-JPK           document 791      filed 01/12/10    page 7 of 11


  According to Tanner, “[l]ogical common sense would dictate Movant

  would not simply enter the plea of guilty in return for the maximum

  20 year sentence statutes provide for under Count Eight of the

  Superceding Indictment.” (Id.) Second, he claims that his lawyer

  rendered ineffective assistance of counsel because he should have

  negotiated a more favorable plea agreement by securing a “particular

  sentence” or by negotiating an agreement with respect to other counts

  in the superceding indictment. (Id. at pp. 29-30.)

           To prove ineffective assistance of counsel, Tanner must show that

  his attorney performed in a deficient manner and that “there is a

  reasonable probability that, but for counsel’s errors, he would not

  have pleaded guilty and would have insisted on going to trial.” Hill

  v. Lockhart, 474 U.S. 52, 58-59 (1985). A “mere allegation by the

  defendant      that     he   would     have       insisted    on    going    to    trial    is

  insufficient to establish prejudice.” U.S. v. Fudge, 325 F.3d 910, 924

  (7th Cir. 2003)(citations omitted). Rather, “[a] defendant is required

  to establish through objective evidence that a reasonable probability

  exists that he would have gone to trial.” Id.

           Here, Tanner claims that he pled guilty under the “attorney

  advised impression” the he would receive a sentence in the range of

  5   to    10   years.   (Brief    at       29.)   In   this   Circuit,      an    attorney’s

  inaccurate      prediction       of    a    sentence     does      not   demonstrate       the

  deficiency component of an ineffective assistance of counsel claim

  even if the prediction is a gross mischaracterization. E.g., U.S. v.


                                                -7-
USDC IN/ND case 2:04-cr-00080-JTM-JPK   document 791     filed 01/12/10    page 8 of 11


  Barnes,    83   F.3d    934,    939-40       (7th    Cir.    1996)(finding         no

  constitutionally deficient performance where lawyer failed to inform

  defendant that if he pled guilty, he would be classified as a career

  offender and subject to much greater punishment than the lawyer

  predicted). Rather, to establish ineffective assistance of counsel

  with respect to prediction of sentencing consequences, a defendant

  must show that his attorney did not make a good faith attempt to

  discover facts relevant to his prediction. Id. And Tanner fails to

  even   allege   this.   Accordingly,        Tanner’s   claim     of     ineffective

  assistance of counsel fails.

         Even if Tanner’s counsel’s performance had been deficient,

  however, his claim would fail because Tanner does not sufficiently

  allege prejudice; Tanner never alleges that he would not have pleaded

  guilty if counsel had given him a more accurate sentencing prediction.

  Indeed, such an assertion would not be credible because Tanner was on

  notice that the sentence imposed could be 20 years imprisonment and

  that it could be more than he or the government expected based on the

  plea hearing. (Change of Plea Hearing Transcript at 13-14, 33.)

  Moreover, Tanner’s allegation that he would not have pled guilty if

  he had known he would be sentenced to the maximum possible under the

  plea agreement is insufficient to show prejudice. Bethel v. U.S., 458

  F.3d 711, 720 (7th Cir. 2006) (“[A] claim that a defendant would not

  have entered this particular plea agreement is not sufficient to show




                                        -8-
USDC IN/ND case 2:04-cr-00080-JTM-JPK        document 791      filed 01/12/10   page 9 of 11


  prejudice.”). For this additional reason, Tanner’s claim is without

  merit.

         Similarly without merit is Tanner’s claim that his counsel was

  ineffective because he failed to negotiate a different and more

  favorable plea agreement. The mere allegation that counsel failed to

  secure a better plea agreement does not, without more, indicate

  deficient counsel. U.S. v. Lane, No. 1:03 CR 05, 1:05 CV 169, 2005 WL

  2304754,      *4   (N.D.    Ind.   Sept.     20,    2005)(finding        no    defective

  performance where defendant alleged, without more, that counsel should

  have negotiated a better plea); c.f. U.S. v. Lawson, 947 F.2d 849, 854

  (7th Cir. 1991)(“That Lawson thought counsel could have negotiated a

  better plea does not necessarily bear on whether the plea was knowing

  and    voluntary.”).       Moreover,     Tanner    fails     to     sufficiently     show

  prejudice from counsel’s action. Not only is it entirely speculative

  that the government would have been willing to agree to a different

  plea agreement, but also Tanner never even claims that he would not

  have   pled    guilty      and   would   have     insisted     on    going    to   trial.

  Accordingly, Tanner’s claim that his counsel was ineffective because

  he failed to negotiate a better plea agreement fails.

         Additionally, Tanner raises nothing further creating any doubt

  that he knowingly and voluntarily entered into an enforceable appeal

  waiver that was clear and unambiguous. And the plea hearing and plea

  agreement further support the conclusion that Tanner knowingly and

  voluntarily entered into the appeal waiver. For example, Tanner and


                                             -9-
USDC IN/ND case 2:04-cr-00080-JTM-JPK     document 791   filed 01/12/10   page 10 of
                                        11

 his lawyer both signed the plea agreement. (Change of Plea Hearing

 Transcript at 3-4.) Tanner read the waiver provision. (Id. at 9-10.)

 Upon questioning from the Court, Tanner agreed under oath that he

 understood it, agreed with it, and was giving up his rights knowingly

 and voluntarily. (Id. at 24-27.) He also agreed that no one had forced

 him to sign it. (Id. at 26.) Then after the court carefully explained

 the consequences of the plea, Tanner set forth a factual basis for his

 guilty plea, agreed with the prosecution version of the facts, and

 pled guilty. (Id. at 9-39.) The Court then found that the plea was

 entered knowingly and voluntarily and supported by an independent

 basis in fact containing each of the essential elements of the

 offense. (Id. at 40.) From this evidence, the Court is satisfied that

 the appeal waiver is enforceable. See United States v. Jemison, 237

 F.3d 911, 917 (7th Cir. 2001).

       This waiver provision encompasses Tanner’s remaining claims

 related to ineffective assistance during sentencing and appeal. These

 claims are, therefore, barred. See, e.g., Mason, 211 F.3d at 1069-70.



 CONCLUSION

       For the reasons set forth above, the portion of Tanner’s motion

 (DE #747) seeking relief pursuant to 18 U.S.C. § 3582(c)(2) is

 STRICKEN and the portion requesting relief pursuant to 28 U.S.C. §

 2255 is DENIED. The Clerk is ORDERED to distribute a copy of this

 Order to Arthia Lamont Tanner (Prisoner No. 08097-027), Forrest City


                                        -10-
USDC IN/ND case 2:04-cr-00080-JTM-JPK     document 791   filed 01/12/10   page 11 of
                                        11

 Low FCI, P.O. BOX 9000, Forrest City, Arkansas, 72336, or to such

 other more current address that may be on file for the Petitioner.



 DATED: January 12, 2010                   /s/ RUDY LOZANO, Judge
                                           United States District Court




                                        -11-
